Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 1
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 2
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 3
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 4
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 5
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 6
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 7
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 8
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 9
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 10
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 11
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 12
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 13
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 14
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 15
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 16
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 17
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 18
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 19
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 20
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 21
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 22
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 23
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 24
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 25
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 26
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 27
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 28
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 29
                                    of 30
Case No. 1:20-cv-00742-DDD-KAS Document 247-4 filed 08/05/21 USDC Colorado pg 30
                                    of 30
